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Attorneys for Plaintiff
CannaVest Corporation

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

CannaVest Corporation, a Delaware CASE NO. 14-CV-2160-CAB-BLM

corporation,

Vv.

Kannaway, LLC, a Nevada limited
liability company; General Hemp,
LLC, a Delaware limited liabilit

MEMORANDUM OF POINTS AND
Plaintiff, AUTHORITIES IN SUPPORT OF
PLAINTIFF’S MOTION FOR
PRELIMINARY INJUNCTION

company, HDDC Holdings, LLC, a DATE: February 12, 2015
Nevada limited liability company and | TIME: 2:00 p.m.

DOES 1-20,

CRTRM: 4C
JUDGE: — Hon. Cathy Ann Bencivengo

CASE FILED: 9/11/14

Defendant.

 

 

Plaintiff CannaVest Corporation (“CannaVest” or “Plaintiff’) respectfully

requests that the Court issue a Preliminary Injunction against defendant Kannaway,

LLC (“Kannaway”’), enjoining Kannaway from continuing to offer products

containing the mark CANNABIS BEAUTY® or any confusingly similar mark.

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1]. INTRODUCTION
2 CannaVest manufactures and sells a hemp-based line of personal care
3 | products (shampoo, conditioner, body wash, body lotion, hand cream and salve)
4 | under the brand name CANNABIS BEAUTY® ~— a mark it owns and which the
5 || United States Patent and Trademark Office (“USPTO”) has registered (Reg. No.
6 | 4615445) and placed on the Supplemental Register (the “CANNABIS BEAUTY®”
7 | mark.) CannaVest has continuously sold this line of products and promoted it in

8 | advertising throughout the United States since September 2013. Based on the

9 | foregoing, these marks have acquired “secondary meaning” — consumers associate
10 | the mark with a particular source of personal care products.
11 Well after Plaintiff had commenced selling its CANNABIS BEAUTY® line
12 | of products, Kannaway, a multi-level marketing organization, solicited CannaVest
13 | for a license of the CANNABIS BEAUTY® mark which Kannaway later refused to
14 | sign. Despite the foregoing, Kannaway started to sell personal care products
15 || bearing the name CANNABIS BEAUTY DEFINED—the exact same mark as
16 | Plaintiff with the word “defined” added at the end. Clearly, Kannaway adopted this
17 | identical mark with full knowledge of CannaVest’s superior rights in the mark and
18 | with the intent to confuse the public and to trade on CannaVest’s goodwill.
19 Kannaway’s infringing use of the CANNABIS BEAUTY® mark is
20 | irreparably harming CannaVest’s reputation and goodwill. Consumers and resellers
21 | have publicly asserted that Kannaway’s multi-level marketing organization is a
22 | scam or Ponzi scheme. Indeed, Kannaway’s primary promoter and control person,
23 | Michael Llamas, is currently the target of a criminal indictment for mail and wire
24 | fraud in the Eastern District of California in connection with a scam to defraud
25 | mortgage lenders. In light of the foregoing, a preliminary injunction is necessary to
26 | protect CannaVest’s goodwill and reputation from being irreparably harmed.
27 | Indeed, the record will show that consumers are likely to be confused and have in

28 | fact already been confused as to a supposed connection between CannaVest and

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Kannaway, including specifically its line of personal care products. Based on the
foregoing, CannaVest respectfully requests that the Court grant this motion and
order Kannaway to immediately cease using the CANNABIS BEAUTY® mark.
Il. FACTUAL BACKGROUND

A. Plaintiff Has Superior Rights In CANNABIS BEAUTY®.

CannaVest launched its line of personal care products in September of 2013,
all of which bear the CANNABIS BEAUTY® mark. Exhibit A! hereto is a copy
of the original catalog for this line. Since then, these products have been sold in
stores throughout the U.S. and on many internet websites and have been promoted
in magazines, the internet, numerous trade shows and other marketing material.
Exhibits B and C are true and correct copies of advertisements for these products.
These products were displayed at the Natural Products Expo East show in
Baltimore, September 25-28, 2013, and have been promoted at numerous trade
shows since then. Exhibit D are photos of these products on display at trade
shows. Exhibit E are close up photos of these products. See accompanying
declaration of Plaintiff?'s CEO, Michael Mona, Jr. (““Mona, Jr. Decl.”), J 2; and
accompanying declaration of Chris Boucher, § 2 (“Boucher Decl.”).

Plaintiff is the owner of a trademark registration with the USPTO for
CANNABIS BEAUTY® (Reg. No. 4615445), which has been placed on the
Supplemental Register. Exhibit F is a true and correct copy of a status page from
the USPTO website reflecting the status of this trademark and asserting a first use
in commerce of September 20, 2013.

B.  Kannaway Solicits Plaintiff For A Trademark License.

In approximately January or February of 2014, the principals of CannaVest’s

former, exclusive online distributor, HempMeds PX, LLC (“HempMeds”)’,

 

' Unless otherwise indicated, all exhibits referenced herein are attached hereto,
* HempMeds breached its distributorship agreement with CannaVest in numerous material ways, causing CannaVest
to terminate the agreement on or about August 11, 2014.

 

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1 | Michael Llamas and Troy Nihart, advised CannaVest’s president and CEO, Mr.
2 | Mona, Jr., that HempMeds planned to launch a multi-level marketing organization
3 | under the name Kannaway to promote and sell hemp-based products, including
4 | CannaVest’s products, and asked Mr. Mona, Jr. if CannaVest would license its
5 | CANNABIS BEAUTY® mark to Kannaway. (As distributors of CannaVest’s
products, these individuals were very familiar with CannaVest’s trademarks,
including its CANNABIS BEAUTY® mark.) Mr. Llamas and Mr. Mona, Jr.
8 | obtained a draft license agreement of the CANNABIS BEAUTY® mark from a San
9 | Diego attorney in March of 2014, which required Kannaway to source all hemp-
10 | based products from CannaVest (either directly or through HempMeds) and to
11 | comply with Plaintiffs “standards and specifications for goods and services... to
12 | protect the value, goodwill and integrity of the Marks....” See Section 3.1 (a) and
13 | (c) of the draft license agreement, Exhibit G, p. 39; and Mona, Jr., Decl., J J 3-4.

14 C. During The Negotiation of the License Agreement, Plaintiff

15 Rebuffs Kannaway for Improperly Attempting to Register

16 Plaintiff's Trademarks and Takes Other Steps to Prevent

17 Confusion.

18 During the negotiation of the license agreement, Kannaway circulated an

19 | email, promoting the creation of Kannaway as a new multi-level marketing arm of
20 || HempMeds—Plaintiff’s distributor. (Exhibit K.) Plaintiffs customers and other
21 | individuals in the industry told Plaintiff that they thought Kannaway was affiliated
22 | with Plaintiff. In response, Plaintiff issued a press release, clarifying that there was
23 | no relationship between the parties. (Exhibit L, p.59.) Mona, Jr., Decl., 75.

24 At the same time, CannaVest discovered that Mr. Llamas had caused another
25 | entity that he controls, defendant HDDC Holdings, LLC (“HDDC’”), to file

26 | trademark applications on trademarks that were currently being used by CannaVest,
27 | including an application for CANNABIS BEAUTY DEFINED, which includes the
28 | entirety of plaintiff's CANNABIS BEAUTY® Mark with the word “defined”

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1 | added at the end. (Exhibit M.) Mr. Mona complained to Mr. Llamas regarding

2 | these trademark applications, pointing out that the trademarks were already being
3 | used by CannaVest, and that CannaVest had superior rights in all of the marks. In
4 | response, Mr. Llamas assigned the trademark applications to CannaVest.

5 | Exhibit N is a true and correct copy of the assignment agreement (the “HDDC

6 | Assignment”). Mona, Jr., Decl., ¥ 6. .

7 D. Kannaway Improperly Offers Competing Products Under the

8 Name CANNABIS BEAUTY ®.

9 Unbeknownst to Plaintiff, and despite the fact that the parties had still not
10 | come to an agreement on’a trademark license, Kannaway improperly proceeded to
11 | offer a salve under the name CANNABIS BEAUTY DEFINED sometime after

12 | March 1, 2014, and later started selling other personal care products under that

13 | name. (Exhibit O.) (Boucher Decl., 93.) Plaintiff's CANNABIS BEAUTY®
14 | products and Kannaway’s CANNABIS BEAUTY DEFINED products are sold °
1S | through the same channels of commerce and are often promoted at the same trade
16 | show booths and on the same websites, side by side. (Mona, Jr., Decl., § 7; and
17 | accompanying declaration of Plaintiffs sales representative, Matthew Markley, § 1
18 | (‘Markley Decl.”).) For example, Exhibit P are excerpts of a third party web site
19 | (www.CBDStore.co), offering the offending CANNABIS BEAUTY DEFINED
20 | personal care products and Plaintiff's CANNABIS BEAUTY® products, side by
21 | side. Exhibit Q is a photo of Kannaway’s offending CANNABIS BEAUTY

22 | DEFINED products and Plaintiff's CANNABIS BEAUTY® products being

23 || promoted, side by side, at a trade show.

24 E. CannaVest Demands That Kannaway Cease Using The

25 CANNABIS BEAUTY® Mark. In Response, Kannaway Produces
26 A Sham Exclusive Licensing Agreement Signed By Mr. Llamas.

27 On July 30, 2014, CannaVest sent a cease and desist letter to Kannaway,

28 | demanding that it cease using the CANNABIS BEAUTY ® mark. (Exhibit R.)

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1 | Kannaway did not respond to this letter. Thereafter, CannaVest sent another cease
2 | and desist letter on August 18, 2014. (Exhibit S.) (Mona, Jr., Decl., 98.) In
3 | response, Kannaway claimed that HDDC (the LLC discussed above which is also
4 | controlled by Mr. Llamas) had granted an exclusive license to Kannaway and
5 | defendant General Hemp, LLC (“General Hemp”)—the parent company of
6 | Kannaway and HDDC—to use the mark CANNABIS BEAUTY DEFINED for 25
7 | years with five- 5 year option periods for potential duration of 50 years (the

8 | “Purported License Agreement,” Exhibit T.) (Mona, Jr., Decl., 9 8.) This

9 | agreement was allegedly created on February 27, 2014 or about two weeks before
10 | HDDC assigned the trademark application for CANNABIS BEAUTY DEFINED to
11 | CannaVest. (Exhibit N.) The Purported Licensing Agreement was signed by
12 | Mr. Llamas on behalf of the supposed licensor (HDDC) and one of the supposed
13 | licensees (General Hemp).
14 CannaVest had no knowledge of the Purported Licensing Agreement—
15 | defendants made no mention of it prior to receiving CannaVest’s cease and desist
16 | letters. Moreover, Kannaway has never challenged CannaVest’s rights to use the
17 | mark CANNABIS BEAUTY ® and has never attempted to abide by the Purported

18 | Licensing Agreement or to enforce it in anyway. (Mona, Jr., Decl., § 9.)

19 F. ‘Plaintiff Will Suffer Irreparable Harm If Kannaway Is Allowed
20 To Continue To Use The CANNABIS BEAUTY® Mark.
21 Kannaway knowingly copied the entirety of Plaintiff's CANNABIS

22 | BEAUTY ® mark to improperly trade on Plaintiff’s goodwill and reputation.

23 | Kannaway’s promoters, namely Llamas and Nihart, were distributors of

24 | CannaVest’s products and were very familiar with CannaVest’s trademarks,

25 | including its CANNABIS BEAUTY® mark. Indeed, they had asked Plaintiff to
26 | license the trademark to Kannaway and had entered into negotiations for the

27 | trademark license, (Mona, Jr., Decl., {§ 3-4; and Boucher Decl., 3.)

28 Moreover, the record shows that Customers and other individuals in the

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hemp-based product industry mistakenly believe that Kannaway is affiliated with
Plaintiff and that Kannaway’s CANNABIS BEAUTY DEFINED beauty products
are produced or sponsored by CannaVest. (Mona, Jr., Decl., § 10; and Markley
Decl., 4 3.) Such individuals have also told officers of CannaVest that Kannaway’s
multi-level marketing organization is a Ponzi scheme and have expressed those
concerns over the internet in various websites which evaluate multi-level marketing
organizations and monitor the hemp-based product industry. (Mona, Jr., Decl.,

| 12; and Markley Decl., § 4.) (Exhibit U are true and correct copies of web pages
wherein members of the public have voiced these concerns.)

In addition, Kannaway’s founder, Mr. Llamas, has been indicted for mail and
wire fraud in connection with a mortgage fraud scheme in the Eastern District of |
California, Case No. 2:12-CR-315-JAM (the “Llamas indictment”). (Exhibit V is a
copy of the Superseding Indictment against Mr. Llamas.) In that Superseding
Indictment, the U.S. Attorney alleges that Mr. Llamas arranged that purchase
contracts, loan applications, and HUD-1 settlement statements be provided to
lenders which falsely represented that borrowers would be making down payments,
and that through a “series of sham financial transactions” the indicted defendants,
including Mr. Llamas, “deceptively made it appear that the nominee buyers had
made a genuine down payment from their own funds when, in fact, the buyers made
no genuine down payment.” (Exhibit V, { 16, p. 153, lines 14-24.) The U.S.
attorney further alleges that Mr. Llamas caused the recordation of false deeds of
trust for a fictitious debt. (Exhibit V, 921, p. 155, lines 19-23.)

Kannaway continues to sell personal care products under the name
CANNABIS BEAUTY DEFINED- products that directly compete with
CannaVest’s products. CannaVest has no ability to control the quality of those
products. The products are sold through the same channels of commerce and are
often on the same websites, side by side. Based on the foregoing, Plaintiff will

suffer irreparable harm to its goodwill and reputation if Kannaway is allowed to

 

 

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continue to market products under the CANNABIS BEAUTY ® mark. (Mona, Jr.,
Decl., {§] 10-12; and Markley Decl., 993-4.)
I. LEGAL STANDARD

A party seeking a preliminary injunction "must establish that he is likely to
succeed on the merits, that he is likely to suffer irreparable harm in the absence of
preliminary relief, that the balance of equities tips in his favor, and that an
injunction is in the public interest." Winter v. Natural Resources Defense Council,
Inc., 555 U.S. 7, 20, 129 S. Ct. 365 (2008). The court may apply a sliding scale
test, under which "the elements of the preliminary injunction test are balanced, so
that a stronger showing of one element may offset a weaker showing of another."
Alliance For The Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011). As
discussed below, Plaintiff has satisfied each of these elements here.
IV. DISCUSSION

A. Plaintiff Is Likely to Succeed On The Merits Of Its Trademark

Infringement Claim

A trademark is "any word, name, symbol, or device, or any combination
thereof... used by a person . . . to identify and distinguish his or her goods." 15
US.C. § 1127. "To prevail on a claim of trademark infringement under the
Lanham Act, 15 U.S.C. § 1114, a party 'must prove: (1) that it has a protectable
ownership interest in the mark; and (2) that the defendant's use of the mark is likely
to cause consumer confusion." Network Automation, Inc. v. Adv. Sys. Concepts,
Inc., 638 F.3d 1137, 1144 (9th Cir. 2011).

1. Plaintiff Has A Protectable Ownership Interest in the
CANNABIS BEAUTY® mark

Ownership interests in a trademark accrue to the first party to actually use the
mark in commerce. See Sengoku Works v. RMC Int'l, 96 F.3d 1217, 1219 (9th Cir,
1996). "[O]wnership of a mark requires both appropriation and use in trade; and [

Jownership of a mark and the exclusive right to a mark belongs to the one who first

 

 

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uses the mark on goods placed on the market." Chance v. Pac-Tel Teletrac, 242
F.3d 1151, 1157 (9th Cir.2001) (internal quotation marks omitted and alteration in
original). While the first use need not be extensive, the use must be bona fide and

commercial in character:

“[A] single sale or shipment may be sufficient to support
an application to register the mark, providing that this
shipment or sale has the color of a bona fide transaction
and is accompanied or followed by activities which would
tend to indicate a continuing effort or intent to continue
such use and place the product on the market on a
commercial scale within a time demonstrated to be
reasonable in the particular trade.”

Id. (citing Hydro-Dynamics, Inc. v. George Putnam & Co., 811 F.2d 1470, 1472-74
(Fed.Cir.1987)).

Here, Plaintiff launched its CANNABIS BEAUTY ® line of personal care
products in September of 2013 and has continuously sold this line of products in
retail stores throughout the United States and on internet websites since then.
(Mona, Jr. Decl., 2; and Boucher Decl., J 2.) In contrast, Kannaway did not
commence sales until after March 1, 2014, well after Plaintiff commenced sales of
its CANNABIS BEAUTY ® products in September 2013. (Boucher Decl., ¥ 3.)
Indeed, Kannaway’s promoter, Mr. Llamas, solicited Plaintiff for a trademark
license of the mark before Kannaway commenced sales. Clearly, Plaintiff was the
first to use the CANNABIS BEAUTY ® mark in commerce and thus owns it.

2. Kannaway’s Use Of The Mark Has Caused Confusion and Will
Likely Continue to Cause Confusion

The Ninth Circuit employs a flexible multi-factor test to gauge the likelihood
of confusion caused by an allegedly infringing mark. See Network Automation,
Inc., 638 F.3d at 1145, Normally, eight different factors are considered: similarity

of the conflicting designations; relatedness or proximity of the two companies'

 

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products or services; strength of the plaintiff's mark; marketing channels used;
degree of care likely to be exercised by purchasers in selecting goods; the |
defendant's intent in selecting its mark; evidence of actual confusion; and likelihood
of expansion in product lines. Brookfield Commce'ns., Inc. v. West Coast
Entertainment Corp., 174 F.3d 1036, 1053-54 (9th Cir. 1999); accord AMF, Inc. v.
Sleekcraft Boats, 599 F.2d 341, 348-49 (9th Cir. 1979). The list is not exhaustive,
no factors are dispositive, and the relative importance of each factor will vary from
case to case. See Brookfield Commc'ns., Inc., 174 F.3d at 1054. As discussed in the
following sections, an application of the Sleekcraft factors in this case shows that
Kannaway’s use of the CANNABIS BEAUTY® name is likely to cause confusion
for consumers. Indeed, it already has caused confusion.
a. Similarity of the Marks

_“[T]he more similar the marks in terms of appearance, sound, and meaning,
the greater the likelihood of confusion.” Brookfield Commc'ns., Inc., 174 F.3d
1054-55. Moreover, “similarities are weighed more heavily than differences.”
Goto.com, Inc. v. Walt Disney Co., 202 F.3d 1199, 1206 (9"" Cir. 2000) (abrogated
on other grounds by Winter, 555 U.S. 22). Here, Kannaway has adopted the
entirety of Plaintiffs CANNABIS BEAUTY ® mark — all Kannaway has done is
add the word “Defined” at the end of the mark. This factor overwhelmingly favors
a finding of likelihood of confusion.

b. Relatedness or Proximity of the Products
Plaintiffs CANNABIS BEAUTY® products and Kannaway’s CANNABIS

BEAUTY DEFINED products are sold through the same channels of commerce
and are often promoted at the same trade show booths and on the same websites,
side by side. (Mona, Jr., Decl., § 7; and Markley Decl., { 1.) For example,
Exhibit P are excerpts of a third party web site (www.CBDStore.co), offering the
offending CANNABIS BEAUTY DEFINED personal care products and Plaintiff's
CANNABIS BEAUTY® products, side by side. Exhibit Q is a photo of

 

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Kannaway’s offending CANNABIS BEAUTY DEFINED products and Plaintiff's
CANNABIS BEAUTY® products being promoted, side by side, at a trade show.
This factor also favors a finding of likelihood of confusion.
c. Strength of Plaintiff's Mark

At the preliminary injunction stage, mark strength is normally gaged by its
conceptual strength. Network Automation, Inc, 638 F.3d 1149-50. “[C]onceptual
strength depends largely on the obviousness of its connection to the good or service
to which it refers.” Jd. 1149. Marks are often ranked “along a spectrum of
generally increasing inherent distinctiveness as generic, descriptive, suggestive,
arbitrary, or fanciful.) Jd. |

Plaintiffs CANNABIS BEAUTY ® is suggestive and inherently distinctive
given the incongruous association of the two words — Cannabis + Beauty.
Incongruity is a strong indication that a mark is suggestive rather than merely
descriptive. In re Tennis in the Round Inc., 199 USPQ 496, 498 (TTAB 1978).
The Trademark Trial and Appeal Board has described incongruity in a mark as “one
of the accepted guideposts in the evolved set of legal principles for discriminating
the suggestive from the descriptive mark,” and has noted that the concept of mere
descriptiveness “should not penalize coinage of hitherto unused and somewhat
incongruous word combinations whose import would not be grasped without some
measure of imagination and ‘mental pause.’” Jn re Shutts, 217 USPQ 363, 364—5
(TTAB 1983) (SNO-RAKE held not merely descriptive of a snow-removal hand
tool); see also In re Vienna Sausage Mfg. Co., 156 USPQ 155, 156 (TTAB 1967)
(FRANK WURST held not merely descriptive for wieners, the Board finding that
although “frank” may be synonymous with “wiener,” and “wurst” is synonymous
with “sausage,” the combination of the terms is incongruous and results in a mark
that is no more than suggestive of the nature of the goods). See also, Charles
Schwab & Co. Inc. v. The Hibernia Bank, 665 F.Supp. 800, 806; 3 USPQ2d 1561
(N.D, Cal. 1987). Similarly, Plaintiff's CANNABIS BEAUTY ® mark is made up

 

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of the terms “cannabis” being synonymous with hemp and “beauty” relating to
something that pleases the aesthetic senses, especially the sight. (See Oxford
Dictionary definitions, attached hereto as Exhibit W.) This factor also favors a
finding of likelihood of confusion.
d. Marketing Channels Used By The Parties

Again, both Plaintiff and Kannaway sell their products online, and promote
them at the same trade shows. This factor also favors a finding of likelihood of
confusion.

e, Degree of Care Used By Consumers

 

Reasonably prudent consumers are expected to be more discerning — and less
easily confused — when they are purchasing expensive items. Conversely, when
purchasing inexpensive items, the reasonably prudent consumer is presumed to be
less discerning and thus more easily confused. See Brookfield, 174 F.3d 1060. The
products here are relatively inexpensive consumer products, such that consumers
may not be discerning and thus more easily confused. This factor also favors a
finding of likelihood of confusion.

f. Kannaway’s Intent In Selecting The Mark

“When an alleged infringer knowingly adopts a mark similar to another’s,
courts will presume an intent to deceive the public.” Official Airlines Guides, Inc.
v. Goss, 6 F.3d 1385, 1394 (9" Cir. 1993). Moreover, if a plaintiff can prove intent,
she is likely to prevail because the courts then presume that the public will be
deceived, E. & J. Gallo Winery v. Gallo Cattle Co., 967 F.2d 1280, 1293 (9th Cir.
1992). In this case, Kannaway knowingly copied the entirety of Plaintiffs
CANNABIS BEAUTY ® mark to improperly trade on Plaintiff's goodwill and
reputation. Kannaway’s promoters, namely Llamas and Nihart, were distributors of
CannaVest’s products and were very familiar with CannaVest’s trademarks,
including its CANNABIS BEAUTY® mark. Indeed, they had asked Plaintiff to

license the trademark to Kannaway and had entered into negotiations for the

 

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trademark license. (Mona, Jr., Decl., {] 3-4; and Boucher Decl., § 3.) Moreover,
the marks are identical. Based on the foregoing, the presumption of intentional
deception to the public clearly should be enforced. This factor overwhelmingly
favors a finding of likelihood of confusion.
g. Evidence of Actual Confusion
The record shows that Customers and other individuals-in the hemp-based
product industry mistakenly believe that Kannaway is affiliated with Plaintiff and
that Kannaway’s CANNABIS BEAUTY DEFINED beauty products are produced
or sponsored by CannaVest. (Mona, Jr., Decl., J 10; and Markley Decl., 4 3.)
Moreover, Kannaway has done absolutely nothing to mitigate this confusion.
Rather, it intentionally adopted Plaintiffs mark and is marketing and promoting its
products with the intent to create such confusion.
h. Likelihood of Expansion and Product Lines
“The likelihood of expansion in product lines factor is relatively unimportant
where two companies already compete to a significant extent.” Brookfield, 174 F.3d
1060. Here, the parties are presently in direct competition with each other in the
hemp-based consumer products space. Thus, this element is unimportant here.
Based on the foregoing, Plaintiff submits that Kannaway’s use of
CANNABIS BEAUTY DEFINED has caused consumer confusion and will
continue to do so.
3, Kannaway’s Reliance On The Purported Licensing Agreement
Is Misplaced
Kannaway will mistakenly assert that it supposedly has the right to use the
CANNABIS BEAUTY DEFINED mark by virtue of the Purported Licensing
Agreement that it recently produced in response to Plaintiffs cease and desist
letters. (Exhibit T.) Kannaway’s reliance upon this Purported Licensing
Agreement is totally misplaced for several reasons, as discussed below.

First, at the time of the Purported Licensing Agreement in February of 2014,

 

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1 | HDDC had no trademark rights in the CANNABIS BEAUTY® mark and thus had
2 | nothing to license to Kannaway. Plaintiff was already using that mark and thus had
3 | superior rights in it. HDDC and Kannaway had not commenced any sales under
4 | that name. Moreover, HDDC’s disingenuous attempt to submit a trademark
5 | application for the exact same mark — by simply adding the word “defined” to the
mark — was totally without any legal basis. Simply put, CannaVest was the senior
user with superior rights in the mark, while HDDC had no such rights to license to

8 | Kannaway as a matter of law.

9 Second, HDDC assigned ownership of the trademark application to Plaintiff
10 | here, such that Plaintiff is the owner of the mark at this time and, as the owner, it
11 | never agreed to any license agreement with Kannaway. Given that the Purported
12 | Licensing Agreement is for the exclusive use of the mark for fifty (50) years, it is
13 | tantamount to a trademark assignment. HDDC purportedly granted Kannaway an
14 || exclusive license to the trademarks and withheld nothing for itself. Furthermore,
15 | although HDDC retained the right to assign the trademarks and the Purported
16 | License Agreement, all terms of the license were binding on any assignee.
17 | Importantly, although the purported license requires that HDDC pay for the
18 | prosecution of the trademark applications and for prosecuting any infringers, it
19 | places no restrictions on Kannaway’s right to enforce the trademarks — HDDC did
20 | not retain the exclusive right to prosecute infringements nor did it require any
21 | notice from Kannaway of infringements. Kannaway, as the exclusive licensee,
22 | coupled with a property interest, qualifies as an assignee of HDDC. See, e.g.,
23 | Ultrapure Sys. v. Ham-Let Group, 921 F. Supp. 659, 665-666 (D. Cal. 1995)
24 | (finding property interests were transferred to licensee that amounted to an
25 } assignment where the contract in fact bestowed exclusive use of the trademarks and
26 | did not set forth any restrictions on the licensee's ability to enforce the trademarks).
27 | As such, and assuming, arguendo, HDDC had any trademark rights to transfer,
28 | Kannaway’s failure to record the Purported Licensing Agreement with the USPTO

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means that it is void as against a subsequent purchaser for value without notice.
See 15 U.S.C. §1060(a)(4)(An assignment shall be void against any subsequent
purchaser for valuable consideration without notice, unless the prescribed
information reporting the assignment is recorded in the United States Patent and
Trademark Office within three months after the date of the assignment or prior to
the subsequent purchase.”) Here, Plaintiff is a subsequent purchaser for
consideration who expressly relied upon the assignment and did not have notice of
the Purported Licensing Agreement. Thus, the Purported Licensing Agreement has
no force and effect as against Plaintiff as a matter of law.

Finally, the Purported License Agreement lacks foundation — Defendants will
not be able to provide a witness to authenticate it as a genuine agreement. Indeed,
the totality of the circumstances clearly show that it is likely a sham that was
created only recently in response to Plaintiffs cease and desist letters and thus
should be given little or no weight. If Kannaway had an Exclusive Licensing
Agreement since February of 2014, then why did Kannaway’s management
continue to negotiate with Plaintiff over a licensing agreement for the trademark for
months after that date? Why didn’t Kannaway simply assert its rights under the
Purported Licensing Agreement long ago? It should also be noted that the
Purported Licensing Agreement was signed by Mr. Llamas, a person who is under
indictment for mail and wire fraud, including specific allegations of preparing
fraudulent documentation to provide to mortgage lenders and filing falsified
documents in the public real estate records.

Based on the foregoing, Kannaway’s reliance upon the Purported Licensing
Agreement is totally without merit. It should be given no weight here.

B. Plaintiff Will Likely Suffer Irreparable Harm

Kannaway knowingly copied the entirety of Plaintiff's CANNABIS
BEAUTY ® mark to improperly trade on Plaintiff's goodwill. Customers and other

individuals in the hemp-based product industry mistakenly believe that Kannaway

 

 

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is affiliated with Plaintiff and that Kannaway’s CANNABIS BEAUTY DEFINED
beauty products are produced or sponsored by CannaVest. (Mona, Jr., Decl., 10;
and Markley Decl., 43.) Such individuals have also told officers of CannaVest that
Kannaway’s multi-level marketing organization is a Ponzi scheme and have
expressed those concerns over the internet in various websites which evaluate
multi-level marketing organizations and monitor the hemp-based product industry.
(Mona, Jr., Decl., ] 12; and Markley Decl., ¥ 4.) (Exhibit U are true and correct
copies of web pages wherein members of the public have voiced these concerns.)

In addition, Kannaway’s founder, Mr. Llamas, has been indicted for mail and wire

_ fraud in connection with a mortgage fraud scheme. (Exhibit V.)

Kannaway continues to sell personal care products under the name
CANNABIS BEAUTY DEFINED- products that directly compete with
CannaVest’s products. CannaVest has no ability to control the quality of those
products. The products are sold through the same channels of commerce as
Plaintiffs products and are often on the same websites, side by side. Based on the
foregoing, if Kannaway is allowed to continue to infringe on Plaintiff's trademark —
a mark Plaintiff has been using extensively and continuously since September of
2013 — Plaintiff will suffer irreparable harm to its goodwill and reputation. Such
harm cannot be remedied with monetary damages.

C. The Balance Of Equities Clearly Favors Plaintiff

Plaintiff has established a likelihood of success on the merits and irreparable
harm, The record shows that Kannaway knowingly adopted the CANNABIS
BEAUTY® mark which is identical to Plaintiff's mark with the intent to deceive
the public. Indeed, Kannaway’s officers solicited Plaintiff for a license of the
trademark at issue before it launched its competing product using the identical,
infringing mark while the parties were supposedly negotiating an agreement.

Moreover, Defendant will not suffer any real hardship if the injunction is

issued. Rather, all Defendant will need to do is simply change the name of its

 

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product or otherwise cease using the trademark at issue. Also, to the extent that
Kannaway could potentially suffer some hardship, any such potential harm is
discounted by the fact that Defendant brought the injury upon itself by intentionally
adopting Plaintiffs mark in an improper attempt to confuse the public. See
Novartis Consumer Health, Inc. v. Johnson & Johnson-Merck Consumer
Pharmaceuticals Co., 290 F.3d 578, 596 (3 Cir. 2002)

D. The Grant Of An Injunction Is In The Public Interest

For the reasons set forth above, in particular to avoid further consumer
confusion, the grant of a preliminary injunction here is in the public interest.
Vv. CONCLUSION

Plaintiff respectfully requests that the Court enjoin Kannaway from
continuing to offer products containing the mark CANNABIS BEAUTY ® or any
confusingly similar mark.

Respectfully submitted,
DATED: December 24, 2014 HIGGS FLETCHER & MACK LLP

By./s/Phillip C. Samouris

 

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